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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Federal Trade Commission
                                     Plaintiff,
v.                                                       Case No.: 1:23−cv−03053
                                                         Honorable John F. Kness
Amgen Inc., et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 23, 2023:


         MINUTE entry before the Honorable John F. Kness: In−person status hearing held
on 5/23/2023. For the reasons discussed on the record, the parties will file a joint status
report concerning scheduling matters on or before 5/30/2023. An evidentiary hearing on
Plaintiff's request for preliminary injunctive relief is set for 9/11/2023 at 9:30 a.m.
Additional future hearings will be set by separate order once the parties have filed their
joint status report. Mailed notice. (kp, )




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